                          United States District Court
                        Western District of North Carolina
                               Statesville Division

         Charles W. Haney II,         )              JUDGMENT IN CASE
                                      )
             Plaintiff(s),            )               5:24-cv-00047-GCM
                                      )
                 vs.                  )
                                      )
     North Carolina Department of     )
              Correction              )
          Burton M. Adams             )
          Jacob Winebarger            )
         Johnathan Maddedn,           )
            Defendant(s).             )

DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s June 20, 2024 Order.

                                               June 20, 2024




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